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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                   :
 In re:                                                            :   Chapter 11
                                                                   :
 WOODBRIDGE GROUP OF COMPANIES, LLC,                               :   Case No. 17-12560 (JKS)
 et al.,1                                                          :
                                                                   :   (Jointly Administered)
                            Remaining Debtors.                     :
                                                                   :   Ref. Docket Nos. 4873-4874

                                       CERTIFICATE OF SERVICE

I, ANDREA SPEELMAN, hereby certify that:

1. I am employed as a Case Manager by Epiq Class Action and Claims Solutions, Inc., with
   their principal office located at 777 Third Avenue, New York, New York 10017. I am over
   the age of eighteen years and am not a party to the above-captioned action.

2. On November 15, 2023, I caused to be served the:

     a. “Order Sustaining Thirty-Seventh (37th) Omnibus (Non-Substantive) Objection to
        Claims Pursuant to Section 502 of the Bankruptcy Code, Bankruptcy Rule 3007, and
        Local Rules 3007-1 and 3007-2,” dated November 14, 2023 [Docket No. 4873], (the
        “37th Omni Order”), and

     b. “Order Sustaining Thirty-Eighth (38th) Omnibus (Non-Substantive) Objection to Claims
        Pursuant to Section 502 of the Bankruptcy Code, Bankruptcy Rule 3007, and Local
        Rules 3007-1 and 3007-2,” dated November 14, 2023 [Docket No. 4874], (the “38th
        Omni Order”),

by causing true and correct copies of the:

          i. 37th Omni Order and 38th Omni Order to be enclosed securely in a postage pre-paid
             envelope and delivered via first class mail to the party listed on the annexed Exhibit A,

       ii. 37th Omni Order to be enclosed securely in separate postage pre-paid envelopes and
           delivered via first class mail to those parties listed on the annexed Exhibit B,

      iii. 38th Omni Order to be enclosed securely in separate postage pre-paid envelopes and
           delivered via first class mail to those parties listed on the annexed Exhibit C, and


1 The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as follows:
Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172). The
Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks, California 91423.
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     iv. 37th Omni Order and 38th Omni Order to be delivered via electronic mail to those
         parties listed on the annexed Exhibit D.

3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                  /s/ Andrea Speelman
                                                                  Andrea Speelman
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                    EXHIBIT A
                                      WOODBRIDGE GROUP OF COMPANIES
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Claim Name                              Address Information
MCCABE, WEISBERG & CONWAY, LLC          COUNSEL: BANK OF AMERICA, N.A. ATTN JANET Z. CHARLTON 1407 FOULK ROAD, SUITE
                                        204 WILMINGTON DE 19803




                                 Total Creditor count 1




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                    EXHIBIT B
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Claim Name                               Address Information
AARON ROTTENSTEIN                        1884 53RD ST BROOKLYN NY 11204
ABRAHAM ZELIG(K)                         25 BESEN PARK WAY AIR MONT NY 10952
ALAN AND MARLENE GORDON                  11942 SW STILL WATERS AVE PORT ST LUCIE FL 34987
ALEXANDER C & MARGARET M KONCZEY         3241 SHADYSIDE LN CHESAPEAKE VA 23321
ALEXANDER C KONCZEY                      3241 SHADYSIDE LN CHESAPEAKE VA 23321
ALLAN M MCDONALD                         PO BOX 263 REDDICK FL 32686
AMY E ILIFFE                             17278 STRATHALLEN CT PURCELLVILLE VA 20132
ANDREA M CORKHILL                        350 AVOCADO ST B3 COSTA MESA CA 92627
ANTHONY CAMPITIELLO & CAMILLE            CAMPITIELLO 2025 SE ERWIN RD PORT ST LUCIE FL 34952
ANTHONY J FEISTHAMEL                     PO BOX 57 BAKER MT 59313
AUDREY L ANSTEY-SCHMOLLER                PO BOX 943 ROY WA 98580
AUTUMN ANKENBAUER                        PO BOX 544 DIAMOND SPRINGS CA 95619
AVIJIT & JASSY R MUKHERJEE               C/O AVIJIT MUKHERJEE 52 BLOSSOM IRVINE CA 92620
BARBARA A BRUNSWICK                      149 HEITKAMP RD MINSTER OH 45865
BARRY M HACKER DOD 3/8/2017 BENEFICIARY DONNA HACKER, SPOUSE C/O DONNA MARIE HACKER 5070 HAMPTON CT GRANITE BAY CA
                                        95746
BERNARD TOBIN & CECILE TOBIN             14616 ROGUE RIVER DR CHESTERFIELD MO 63017
BETTY & GREG JANDT                       3935 ROBIN AVE EUGENE OR 97402
BETTY LU DUNNE                           150 CORTONA WAY APT 216 BRENTWOOD CA 94513
BIBBIE-ANN RANCK IRA                     1989 ALCO AVE WALLA WALLA WA 99362
BILL HESS                                839 OAK AVE VALLEJO CA 94591
BRAD A KELLER                            506 SCHOOL ST BRADFORD OH 45308
BRENDA KAY RAY                           6090-A HWY 14-16 ARVADA WY 82831
BRUCE D JERVE                            1219 LAKE CRESENT DR ALEXANDRIA MN 56308
BRUCE W ELEY REVOCABLE TRUST DATED       14, 2016 C/O BRUCE W ELEY TRUSTEE 1729 CARMAN VALLEY DR BALLWIN MO 63021-5879
APRIL
BRUCE W ELEY REVOCABLE TRUST DATED       14, 2016 1729 CARMAN VALLEY DR BALLWIN MO 63021-5879
APRIL
BURNETT FAMILY IRREVOCABLE TRUST         C/O ERON LAW P A ATTN DAVID PRELLE ERON 229 E WILLIAM SUITE 100 WICHITA KS
                                         67202
BYRON T EDDY II                          6375 FRANKLIN RD FAIRVIEW PA 16415
BYRON T EDDY II                          PO BOX 185 FAIRVIEW PA 16415
CAMPBELL FAMILY TRUST DATED 10/30/2002   ATTN BRUCE A CAMPBELL, TRUSTEE 1255 VALPARAISO DR E PLACENTIA CA 92870
CAREY L CALHOUN                          7870 BLINKHORN WAY GLADSTONE OR 97027
CAROLINA CRETELLA                        10161 N BISCAYNE DR CITRUS SPRINGS FL 34434
CAROLYN BEATTY                           1344 Q ST RIO LINDA CA 95673
CAROLYN DIEHL                            320 RENWICK DR SENOIA GA 30276
CHARLENE AND RICHARD HUNKINS             8712 JOCELYN WAY ELK GROVE CA 95758
CHARLES E COOPRIDER                      3542 VESTAL LOOP BROOMFIELD CO 80023
CHARLES FRONTERA IRA                     26240 BLOMFIELD ST ROSEVILLE MI 48066
CHARLES FRONTERA IRA                     C/O CHARLES FRONTERA 26240 BLUMFIELD ST ROSEVILLE MI 48066
CHRISTOPHER MARSTON & DANA LEE MARSTON   6794 COLOMO CT RANCO CUCAMONGA CA 91701
CHRISTOPHER MARSTON & DANA LEE MARSTON   3760 GLORIETTA PLACE BREA CA 92823
CLINTON J CARROUGHER                     350 AVOCADO ST #B3 COSTA MESA CA 92627
CONGREGATION BYRUCH MOUSHE INC           C/O CHASUNA MALL 48 BAKERTOWN RD #306 MONROE NY 10950
CONGREGATION IMERI ZVI                   37 TAYLOR ST #1 BROOKLYN NY 11249
CONGREGATION KEREN V'YOEL MOISHE         55 FOREST RD 3RD FL MONROE NY 10950
CONNIE FELDICK SINGLETON                 466 SANTA BARBARA IRVINE CA 92606
CRAIG K PEARSALL                         5207 W HILDEBRAND BLVD APT 401 KENNEWICK WA 99338
CYNTHIA L AKERS                          375 HARPWOOD DR FRANKLIN OH 45005


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Claim Name                               Address Information
CYNTHIA L BURNS                          16160 NE KINGS GRADE RD NEWBERG OR 97132
DAISY C CARIAGA                          130 MERKEL DR BLOOMFIELD NJ 07003
DALE A TUETY                             C/O TOUSSAINT & COATY PC 1202 BERGEN PARKWAY SUITE 110 EVERGREEN CO 80439
DANIEL J COWSER                          208 OOLOGILA PLACE LOUDON TX 37774
DARRALYN ALEXANDER                       218 CANDLEWOOD DR CONWAY SC 29526
DAVID & MARGARET HILLER                  86 WATERSEDGE DR F-3 PAWLEYS ISLAND SC 29585
DAVID & PEGGY HOLMES                     103 FRANKLIN DR SWANSBORO NC 28584-9174
DAVID A YETTER                           14675 EDGEWOOD RD ROGERS MN 55374
DAVID BAKAY                              1247 MENLO DR DAVIS CA 95616
DAVID D & LANA SABOT                     C/O DAVID SABOT 6605 CENTENNIAL RD BISMARCK ND 58503
DAVID J ENGELBERT AND JUDITH J           C/O MAINSTAR TRUST 214 W 9TH ST PO BOX 420 ONAGA KS 66521
ENGELBERT
DAVID J ENGELBERT AND JUDITH J           9335 DESERT WILLOW TRAIL HIGHLANDS RANCH CO 80129
ENGELBERT
DAVID JEHLEN                             1985 SEVER DR CLEARWATER FL 33764-4713
DAVID KAZEL                              7707 LAWRENCE RD BOYNTON BEACH FL 33436
DAVID KITTREDGE KEAN                     7375 SW DEERHAVEN DR CORVALLIS OR 97333
DAWN MARIE VICTOR                        17756 MAPLEWOOD DR BOCA RATON FL 33487
DEAN M AND ARLETTE M RANDASH             1941 VIRGINIA DALE ST HELENA MT 59601
DEAN M RANDASH AND ARLETTE M RANDASH     1941 VIRGINIA DALE ST HELENA MT 59601
DEAN STRATSMA                            8516 SE PALM STREET HOBE SOUND FL 33455
DEBORAH L WINDEY                         647 TELYA RIDGE MILFORD MI 48381
DENISE KARLA OBENHAUS                    6311 WYOMING STREET VANCOUVER WA 98661
DENNIS & KATHLEEN WOLSTENOLME            3920 SOLSTICE LANE DUMFRIES VA 22025
DENNIS A YOUNG                           2559 REDWOOD CIR CLEARWATER FL 33763
DENNIS D SHAW TRUSTEE                    C/O DENNIS SHAW 15713 ALLMAND DR HUDSON FL 34667
DENNIS FRANCK                            13135 W 81ST AVE ARVADA CO 80005
DIANE RUBY                               2412 DELWOOD AVE DURANGO CO 81301
DONLIE P SMITH                           2724 S HEATHER GARDEN WAY AURORA CO 80014
DONNA L NEWMAN                           9847 CAMBRIDGE COURT B MOKENA IL 60448
DOREEN L LADE                            16001 GLENRIDGE AVE CLEVELAND OH 44130
DORIS A FRIED                            PO BOX 1017 208 SAPPHIRE MALTA MT 59538
DOUGLAS A MCCLINTIC                      5905 E NICHOLS LN CENTENNIAL CO 80112
DOUGLAS K STONEHOCKER                    581 QUAKIE WAY BAILEY CO 80421
DOUGLAS K STONEHOCKER                    203 PROSPECTOR DR. COLORADO SPRINGS CO 81251
DOUGLAS K STONEHOCKER                    300 EAST ESPLANADE DRIVE SUITE 1980 OXNARD CA 93036
DUANE D ODEGARD TRUST                    6090-A HWY 14-16 ARVADA WY 82831
ELDON D SCHRAG & RUTH M SCHRAG FAMILY    TRUST C/O LINDA D MACK 15163 SW GOLDENROD LN ROSE HILL KS 67133
ELIZABETH CRUZ                           23 MATINEE CT ALISO VIEJO CA 92656
ELIZABETH K F MUNK                       10 EL NIDO DR NAPA CA 94559-2143
ELTON LYNUM                              1232 CLARION DRIVE TORRANCE CA 90502
ESTATE OF ETHEL KAHN                     ATTN STUART A YOUNG ESQ 1860 FOREST HILL BLVD., STE 201 WEST PALM BCH FL 33406
ESTATE OF GRETA DELL ROBERTS             C/O 1003 STONE ROAD KILGORE TX 75662
ESTATE OF GRETA DELL ROBERTS             1615 W 24TH ST ODESSA TX 79763
ESTATE OF HERMAN P GULLATT SR            C/O CAROLYN JOYCE ARTHUR CO-EXECUTRIX 22519 WILDWOOD GROVE DR KATY TX 77450
ETHEL HILARIO                            19 RICHLAND CT #C CLIFTON NJ 07012
EVERETT MITCHELL TRUST                   PO BOX 388 GLENDIVE MT 59330
FEN CHEN DYKMAN                          6509 BONAIRE DR BILOXI MS 39532
FRANCES JEHLEN                           1965 SEVER DR CLEARWATER FL 33764-4713



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FRANCIS K CLAPPER & DOROTHY A CLAPPER    1533 TWIN OAKS DR BILLINGS MT 59105
FRANCIS L AND SUSAN K GUIBERSON          3745 SANDY SHORE LN FORT COLLINS CO 80528
FRANK AND MARY NAPPI                     8346 S PIERCE WAY LITTLETON CO 80128
FRANK E KOSARICK                         336 N BIRCH RD 11F FORT LAUDERDALE FL 33304
FRANK KISKO                              22 WELDON ROAD EDISON NJ 08817-3724
FRED LOUIS                               8826 HOLLOWSTONE WAY SACRAMENTO CA 95828
GAIL KOHL                                2408 TRIBUTE DR ARNOLD MO 63010
GEORGE H WISE                            17202 GOLD RUSH DR STRONGSVILLE OH 44136
GEORGE J REITTER                         9782 AMETRINE CT ELK GROVE CA 95624
GEORGE MICHAEL DRISCOLL                  PO BOX 461 TRURO MA 02666
GEORGE STEPANOFF                         8856 BRIDALSMITH DR SACRAMENTO CA 95828
GERALD C REEVES                          4142 MARINER BLVD.#209 SPRING HILL FL 34609
GERALD C REEVES                          7414 FIRESIDE DR. PORT RICHEY FL 34668
GERALD D GIENGER AND ANN C GIENGER       130 STEARMAN CT ERIE CO 80516
GERALD W & SUSAN HARDESTY                8459 S NEWCOMBE ST LITTLETON CO 80127
HAIDEE & ADRIAN JAMES SANCHEZ            C/O HAIDEE SANCHEZ 20400 W ESMERELDA LN PORTER RANCH CA 91328
HARVEY BAER AND GERALDINE BAER           C/O HARVEY BAER BOX 282 201 1ST AVE E RICHARDTON ND 58652
HARVEY D BAER                            PO BOX 282 RICHARDTON ND 58652
HARVEY DICKSON                           8655 FLYING B WAY #6302 HIGHLANDS RANCH CO 80219
HAZEN R THOMAS AND SONJA M THOMAS        C/O HAZEN R THOMAS 1429 WILKS PL COLORADO SPRINGS CO 80909
HEALTH CORE TRUST                        100 N TAYLOR LANE PO BOX 273 PATAGONIA AZ 85624
HELGA VISCUSO                            597 HOMESTEAD AVE NE PALM BAY FL 32907
HENRY H HIGGINBOTHAM                     15173 SNOW MEMORIAL HWY BROOKVILLE FL 34601
HORIZON TR CO-FBO ALFRED CURTIS ROTH     1920 E BAPTIST RD MONUMENT CO 80132-7713
IRA
HORIZON TR CO-FBO ALFRED CURTIS ROTH     PO BOX 3007 ALBUQUERQUE NM 87190
IRA
HORIZON TRUST COMPANY CUSTODIAN FBO      DAVID RICH SEP IRA 8865 W ELMHURST AVE LITTLETON CO 80128
HOWARD AND SUSAN VOGEL AS JOINT TENANTS 3851 BOARDWALK, APT 2712 ATLANTIC CITY NJ 08041
HOWARD K & DELORES M SEAY                12 PHEASANT LANE GREAT FALLS MT 59404
HOWARD KENNETH & DELORES M SEAY          C/O HOWARD K SEAY 12 PHEASANT LANE GREAT FALLS MT 59404
HOWARD RUBIN                             6096 HUNTWICK TERRACE APT 303 DELRAY BEACH FL 33484
HUNG-CHANG W HUANG                       23 GOLDENROD LAKE FOREST CA 92630
IRA SERVICES TRUST CO CFBO PATRICIA A    BENNETT IRA 1109 WEST 34TH WAY VANCOUVER WA 98660
IRA SERVICES TRUST COMPANY               CFBO DENNIS DLASK 561 S BENNETT AVE PALATINE IL 60067
IRA SERVICES TRUST COMPANY               CFBO MARIA DLASK 561 S BENNETT AVE PALATINE IL 60067
IRA SERVICES TRUST COMPANY               CFBO MAREK BRYNIARKSI 1160 INDUSTRIAL RD STE 1 SAN CARLOS CA 94070
IRA SERVICES TRUST COMPANY               CFBO MAREK BRYNIARKSI PO BOX 7080 SAN CARLOS CA 94070
IRENE FORD                               3401 PATTERSON WAY EL DORADO HILLS CA 95762
JACK HENNIGH & SUSAN A WHITMORE-HENNIGH C/O JACK HENNIGH 6371 S HUDSON ST CENTENNIAL CO 80121
JACKIE DORMAGEN                          5806 REGENCY CT GURNEE IL 60031-6100
JACKIE DORMAGEN                          C/O PROVIDENT TRUST GROUP LLC FBO FBO JACKIE DORMAGEN IRA 8880 W SUNSET RD STE
                                         250 LAS VEGAS NV 89148-5006
JACKWAYS D KESLING INHERITED IRA         202 CHOTA SHORES LANE LOUDON TN 37774
JAMES AND GERALDINE LINDSAY              130 EVERGREEN CT PINEHURST NC 28374-8246
JAMES E & DIXIE L MCALLISTER             8001 MODESTO AVE NE ALBUQUERQUE NM 87122
JAMES P AUSK & JOARLENE AUSK             2992 DAYSTAR DR BILLINGS MT 59102
JAMES R SEYMOUR                          3405 BRETON VALLEY DR SE KENTWOOD MI 49512
JAMES W AND ROSEMARY WEST                2400 MAPLE AVE NOTRHBROOK IL 60062
JAMESPAUL LIMATO                         305 EL TORO CT ROSEVILE CA 95747


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JANET R LYLE                             3775 STONE PASS OREGON WI 53575
JEANNIE M FOWLER                         11226 14TH AVE SW SEATTLE WA 98146
JEFFREY S GAROUTTE                       5210 CONEFLOWER LN COLORADO SPRINGS CO 80917
JENNIFER L PITCAIRN                      7870 BLINKHORN WAY GLADSTONE OR 97027
JENNY CHIN                               7386 AZALEA CT WEST BLOOMFIELD MI 48322
JERRY AND MELANIE SKARYD                 11343 BALDWIN RD CHESANING MI 48616
JERRY AND MELANIE SKARYD                 C/O GREENFELDER LAW OFFICE ATTN PATRICK J GREENFELDER 233 W BROAD CHESANING MI
                                         48616
JILL L MAENNER                           PO BOX 803 LOUISVILLE NE 68037
JILL L MAENNER                           7301 Q ST APT 126 RALSTON NE 68127
JILL L MAENNER                           C/O JEFFREY A FELDMAN 425 CALIFORNIA ST STE 2025 SAN FRANCISCO CA 94104
JOANN & DEAN STENSGAARD                  724 ST JAMES CT GALT CA 95632
JOANN MARIE BECVAR                       29117 LILAC RD VALLEY CENTER CA 92082
JOE C HOWELL                             2517 CO RD 28 SLOCOMB AL 36375
JOE C HOWELL                             2517 COUNTY ROAD 28 SLOCOMB AL 36375-5495
JOHANNES MICHALSKI                       834 E FORT PIERCE DR ST GEORGE UT 84790-8829
JOHN B MATZ REVOCABLE LIVING TRUST       5TH DAY OF AUGUST 2016 4915 LANGDALE WAY COLORADO SPRINGS CO 80906
JOHN FACQUE                              19600 COUNTY RD 87B ESPARTO CA 95627
JOHN G SMITH                             N577 COUNTY RD D EAU GALLE WI 54737
JOHN GAIONI                              AVD. VALENCIA, 10-5 REQUENA VALENCIA    46340 SPAIN
JOHN GAIONI                              8157 SOUTH TEMPE COURT AURORA CO 80016-7195
JOHN GEORGE SMITH                        N577 COUNTY RD D EAU GALLE WI 54737
JOHN J & JENNIFER NONNENMACHER           1331 WINDING WILLOW DR NEW PORT RICHEY FL 34655
JOHN L. PEZZOLA AND KATHY J. PEZZOLA     C/O JOSEPH E SARACHEK 101 PARK AVE FL 27 NEW YORK NY 10017
JOHN L. PEZZOLA AND KATHY J. PEZZOLA     8775 20TH STREET# 805 VERO BEACH FL 32966
JOHN M ALME AND JEAN E ALME              C/O SCHNEIDERS & ASSOCIATES LLC 300 EAST ESPLANADE DR SUITE 1980 OXNARD CA
                                         93036
JOHN M RYAN JR                           541 SALEM ST BRADFORD MA 01835
JOHN R DZUBAY SUPPLEMENTAL NEEDS TRUST   C/O JOHN R DZUBAY SNT 4071 CADDOA DR LOVELAND CO 80538
JOHN R SEGER TRUST DATED NOVEMBER 18,    2008 C/O JOHN R SEGER 110 GRANDVIEW ST FORT LORAMIE OH 45845
JOHN R SEGER TRUST DATED NOVEMBER 18,    2008 C/O JOHN SEGER 110 GRANDVIEW DR FORT LORAMIE OH 45845
LINDA L. WEBB                            9327 MEADOW VISTA ROAD CHARLOTTE NC 28213
PROV. TR GP-FBO TROY GATTIS IRA          21145 ROAD P CORTEZ CO 81321-9433
PROVIDENT TRUST GROUP                    FBO TROY GATTIS IRA 21145 ROAD P CORTEZ CO 81321
PROVIDENT TRUST GROUP                    FBO TROY GATTIS IRA 21145 ROAD F CORTEZ CO 81321-9433
PROVIDENT TRUST GROUP FBO TROY GATTIS    IRA C/O PROVIDENT TRUST GROUP LLC 21145 ROAD P CORTEZ CO 81321-9433
PROVIDENT TRUST GROUP FBO TROY GATTIS    IRA C/O TROY GATTIS 21145 ROAD P CORTEZ CO 81321-9433
ROBYN IRVING OBO THE ESTATES             AND IRA ACCOUNTS OF 1615 W 24TH ST ODESSA TX 79763
ROBYN IRVING OBO THE ESTATES             AND IRA ACCOUNTS OF JOHN V & GRETA D ROBERTS 1615 W 24TH ST ODESSA TX
                                         79763-2307
TMICO FBO JOHN V ROBERT TR IRA           KALJU NEKVASIL GOODMAN & NEKVASIL, P.A. 14020 ROOSEVELT BLVD STE 808
                                         CLEARWATER FL 33762
TMICO FBO JOHN V ROBERT TR IRA           PO BOX 2288 FORT WORTH TX 76113




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Claim Name                               Address Information
JOHN RAPPA                               5314 SANDERLING RIDGE DR LITHIA FL 33547
JOHN S AND TORRIE L NORTON               214 JASPER WAY SAN MARCOS CA 92078
JON P HUBBARD                            2420 E. 2830 S. ST. GEORGE UT 84790
JON P HUBBARD                            C/O STONERIVER FINANCIAL 2446 BELLA ROSA DR. ST. GEORGE UT 84790
JONATHAN SCHWARTZ                        6541 SUGARCANE CIR OCEAN SPRINGS MS 39564
JONATHON YOPPINI & RONNAMARI YOPPINI     2342 25TH AVE SACRAMENTO CA 95822
JOSE LUCIO TORRES                        648 CLINTWOOD AVE LA PUENTA CA 91744
JOSEPH & RUTH A BEAL                     7147 SE QUINCY TERR HOBE SOUND FL 33455
JOSEPH P & FRANCINE B SPANIAL            34 LONGCREEK DR MURRELLS INLET SC 29576
JUDITH A AND RAYMOND A KRAFT             918 WALNUT DR DARIEN IL 60561
JUDITH HAYS                              498 BOYD RD LACROSS FL 23950
JUNE SCHWABISH IRA, CUSTODIAN MAINSTAR   TRUST C/O JUNE SCHWABISH 51 WESLEYAN DRIVE COMMACK NY 11725
KATHLEEN A DEFORD                        1710 OWAISSA ST APPLETON WI 54911
KATHY J PEZZOLA                          8775 20TH ST #805 VERO BEACH FL 32966
KEITH M HIGH                             2717 TRUMAN ST CAMARILLO CA 93010
KELLY VAN RUITEN                         1011 W ELM ST LODI CA 95240
KEN AND KENDRA HOOD                      33561 CO RD 4.5 FOWLER CO 81039
KEN PADDOCK FAMILY TRUST                 2 WICKLAND IRVINE CA 92620
KENNETH & JULIE DUISENBERG               1056 SHENENCOCK WAY ROSEVILLE CA 95747
KENNETH W AND SANDRA S LANGE             931 W GLENDALE AVE APPLETON WI 54914
KENT D AND MARY M TADLOCK                19892 E BATES AVE AURORA CO 80013
KOK KING AND EFINA HOOI                  10290 SCRIPPS POWAY PKWY #2 SAN DIEGO CA 92131
KURT S & MICHELLE R SELLMEYER            6638 DEVONSHIRE ST LOUIS MO 63109
LARRY A DUNCAN                           2527 S CANAL NEWTON FALLS OH 44444
LARRY D BAXTER                           5700 HWY 71 MALONE FL 32445
LAURENCE E CAMIGI                        1024 BRIGHTON CT VACAVILLE CA 95687
LAWRENCE A AND JULE LARKINS              1142 COLT CIR CASTLE ROCK CO 80109
LAWRENCE A AND SHARON J KRAUSE           2523 N APPLETON ST APPLETON WI 54911
LAWRENCE A LARKINS AND JULIE LARKINS     1142 COLT CIRCLE CASTLE ROCK CO 80109
LINDA G BURTON                           5939 NW WOLVERINE RD PORT ST LUCIE FL 34986
LINDA KLABACHA                           11954 MAYFIELD AVE. UNIT 1 LOS ANGELES CA 90049
LISA KALECHSTEIN                         215 E LOOP DR CAMARILLO CA 93010
LLOYD & LORRAINE TOMAC                   409 W MATTERHORN ST ORO VALLEY AZ 85737
LOREN ODEGARD                            6090-B HWY 14-16 ARVADA WY 82831
LUCY A TAYLOR                            3067 HIGH MEADOW LN SAN JOSE CA 95135
LYLE SHELLY                              5100 BAYVIEW DR APT 305 FT LAUDERDALE FL 33308
MAINSTAR TRUST CUSTODIAN FBO DANNY E     SOLOWY C/O DANNY E SOLOWY 5894 WALLOON MEADOWS CIR PETOSKEY MI 49770-9121
MAINSTAR TRUST FBO ALLA SORSHER IRA      214 W 9TH ST PO BOX 420 ONAGA KS 66521
MAINSTAR TRUST FBO ALLA SORSHER IRA      5 HARBORCREST IRVINE CA 92604
MARGARET F MICHAEL                       PO BOX 3247 ATTLEBORO MA 02703-0900
MARIA RECINE                             9800 NW 75TH ST TAMARAC FL 33321
MARIA RECINE                             9539 WELDON CIR APT 103F TAMARAC FL 33321-0629
MARIA RECINE                             9539 WELDON CIR APT 103 FORT LAUDERDALE FL 33321-0829
MARIA RECINE                             9530 WELDON CIR APT 103F TAMARAC FL 33321-0829
MARJORIE JO SILER                        C/O MARSHA KIDD TRUSTEE PO BOX 1992 #1 SANDIA RD EL PRADO NM 87529
MARK AND JILL DZUBAY                     4071 CADDOA DR LOVELAND CO 80538
MARK B ANDERSON                          C/O NELSON COMIS KETTLE & KINNEY LLP ATTN WILLIAM E WINFIELD, ATTORNEY AT LAW
                                         300 E ESPLANADE DR ,STE 1170 OXNARD CA 09303
MARK B ANDERSON                          7306 PONDERSOSA CIRCLE PARKER CO 80138



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Claim Name                               Address Information
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MARK KERSTING                            10529 SPRING GREEN DR ENGLEWOOD CA 80112
MARK L & JENNIFER L MANDEVILLE           27703 ORTEGA HWY SPC 113 SAN JUAN CAPISTRANO CA 92675
MARK P AND JILL R DZUBAY                 4071 CADDOA DR LOVELAND CO 80538
MARLENE GREEN                            PO BOX 369 COOL CA 95614
MARY DIANNE RUTHERFORD                   5950 N 78TH ST UNIT 246 SCOTTSDALE AZ 85250-6186
MARY KATHERINE ODEGARD TRUST             6090-A HWY 14-16 ARVADA WY 82831
MATA CBL INVESTMENTS                     C/O MATA CBL INVESTMENTS LLC 5305 RIVER RD STE B KAIZER OR 97303
MATA CBL INVESTMENTS LLC                 5305 RIVER RD STE B KAISER OR 97303
MELANEE JANENE PHILLIPS                  1858 E 213TH ST CARSON CA 90745-1863
MENG S TAING                             425 TALON REACH CT ROSEVILLE CA 95747
MICHAEL AND CHERYL RITA                  34659 CREEKSEDGE RD DAVIS CA 95616
MICHAEL D ODEGARD                        6090-B HWY 14-16 ARVADA WY 82831
MICHAEL H AND BRENDA K HOVE              3359 FOXHAVEN LOOP BISMARCK ND 58503
MICHAEL NUYTS                            7017 1/2 SANTA JUANITA AVE ORANGEVALE CA 95662
MICHAEL T JOLLEY                         6108 E VALLEY VIEW DR FLORENCE AZ 85132-7999
MICHAEL T JOLLEY                         6198 E VALLEY VIEW DR FLORENCE AZ 85132-7999
MICHAEL T JOLLEY                         C/O LOVELAND FINANCIAL ATTN CHAD LOVELAND 1428 S 2580 E ST GEORGE UT 84790
MIKE SHUDRA                              3621 SOUTH HESPERIDES STREET TAMPA FL 33629
MIKE TOBIN                               1301 WELCOME DRIVE VERO BEACH FL 32966
MIRKO YELENOVIC                          675 SANDBERG ST SURFSIDE BEACH SC 29575
MORINE CARTER                            13133 LE PARC UNIT 810 CHINO HILLS CA 91709
NAVIN & NEELAM MEHTA                     8354 MOLLER RANCH DR PLEASANTON CA 94588
NELIA SORIANO                            9521 LAS TUNAS DR STE 7 TEMPLE CITY CA 91780-2154
NORAH M SOWA                             1454 JAMIE CT LOVELAND CO 80537
PATRICIA HARFIELD POLLARD                9896 RAWSON RD MORONGO VALLEY CA 92256
PATTI C AND RICHARD B ARMSTRONG JR       2322 THORNGROVE PIKE KNOXVILLE TN 37914
PAUL YEE                                 3214 VINTAGE CREST DRIVE SAN JOSE CA 95148
PERRY STEVENS                            2704 SE BELLA VISTA LOOP VANCOUVER WA 98683-7695
PETER J & JUDITH L CARAVELLA             10838 SEAPINES CIRCLE HOBE SOUND FL 33455
PHIL ANSON                               1584 THOMPSON STATION RD W THOMPSONS STN TN 37179-9258
PHILLIP C JERZAK                         202 SW LAKE CHARLES CIRCLE PORT ST. FL 34986
PHILLIP H HARDY                          10854 GLENGATE CIR HIGHLANDS RANCH CO 80130-6975
PHILLIP HEFFELFINGER                     251 SEMINOLE CT MARCO ISLAND FL 34145
PROV TR GRP FBO MICHAEL ODEGARD SEP IRA 6090-B HWY 14-16 ARVADA WY 82831
PROV TR GRP LLC FBO ANTHONY FEISTHAMEL   IRA PO BOX 57 BAKER MT 59313
PROV TR GRP LLC FBO ARLETTE M RANDASH    IRA 1941 VIRGINIA DALE ST HELENA MT 59601
PROV TR GRP LLC FBO LAWRENCE E BRENSDAL IRA 675 LAKE HLLS PL BILLINGS MT 59105
PROV TR GRP LLC FBO MURIEL G ZAHAM IRA   1525 E MARYLAND LN LAUREL MT 59044
PROVIDENT TR GRP LLC FBO ARLETTE M       RANDASH IRA 1941 VIRGINIA DALE ST HELENA MT 59601
PROVIDENT TRUST GROUP LLC                FBO RONALD J JUTTE IRA 55888 BREDEN RISE LN MISHAWAKA IN 46545
PROVIDENT TRUST GROUP LLC                FBO MURIEL G ZAHM IRA ACCT #140700236 1525 E MARYLAND LN LAUREL MT 59044
PROVIDENT TRUST GROUP LLC                FBO RON PETERSON IRA 310 TRAVOIS TRL BILLINGS MT 59105
PROVIDENT TRUST GROUP LLC                FBO RON PETERSON IRA ACCT #150800001 310 TRAVOIS TRL BILLINGS MT 59105
PROVIDENT TRUST GROUP LLC                FBO ANTHONY FEISTHAMEL IRA PO BOX 57 BAKER MT 59313



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Claim Name                               Address Information
PROVIDENT TRUST GROUP LLC                FBO HOWARD K SEAY IRA ACCT 150800195 12 PHEASANT LANE GREAT FALLS MT 59404
PROVIDENT TRUST GROUP LLC FBO DEAN M     RANDASH IRA 1941 VIRGINIA ST HELENA MT 59601
PROVIDENT TRUST GROUP LLC FBO FRANCIS K CLAPPER 1533 TWIN OAKS DR BILLINGS MT 59105
PROVIDENT TRUST GROUP LLC FBO HOWARD K   SEAY IRA 12 PHEASANT LANE GREAT FALLS MT 59404
PROVIDENT TRUST GROUP LLC FBO JOARLENE   AUSK IRA 2995 DAYSTAR DR BILLINGS MT 59102
PROVIDENT TRUST GROUP LLC FBO JOARLENE   AUSK IRA 2992 DAYSTAR DR BILLINGS MT 59102
PROVIDENT TRUST GROUP LLC FBO JOHN D     ANDERSON C/O JOHN D ANDERSON 10887 E CRESTLINE CIR ENGLEWOOD CO 80111
PROVIDENT TRUST GROUP LLC FBO TERRY      DUKART IRA 2735 BITTERROOT DR BILLIGNS MT 59105
PROVIDENT TRUST GRP LLC FBO DEAN M       RANDASH IRA 1941 VIRGINIA DALE ST HELENA MT 59601
PROVIDENT TRUST GRP LLC FBO MICHAEL C    BOSICK IRA 10936 UPLAND TERR LEBANON IL 62254
PROVIDENT TRUSTGRP LLC FBO JERRY L       IRA; C/O ALLEN LAW FIRM, LLC 8469 MASON MONTGOMERY RD SUITE 2 MASON OH 45040
BOGGS
RACHEL L BAXTER                          5700 HWY 71 MALONE FL 32445
RANDY C BOTWINICK                        1645 F LINTON LAKE DR DELRAY BEACH FL 33445
RAVI GHANTA                              43 GOLDFINCH CIRCLE PHOENIXVILLE PA 19460
RENE TERNIER                             1400 ST CHARLES PLACE APT 404 PEMBROKE PINES FL 33026
RICHARD & GRETA MARTIN LIVING TRUST      11-1-99 C/O RICHARD NEUMEYER, POA 2629 FOOTHILL BLVD #194 LA CRESECENTIA CA
                                         91214
RICHARD A CALDWELL                       2318 THORNGROVE PIKE KNOXVILLE TN 37914
RICHARD A SNITZER                        11174 TURNER RD HAMPTON GA 30228-1534
RICHARD AND SHERI BLACKFORD              30522 GALE RD PUEBLO CO 81006-9560
RICHARD BOWEN                            2476 AVALON LANE COUPEVILLE WA 98239
RICHARD D KAPLAN                         22624 ESPLANDA CIR BOCA RATON FL 33433
RICHARD HYLAND JR                        P.O. BOX 733 TRAVERSE CITY MI 49686-8418
RICHARD HYLAND JR                        175 E DELAWARE PL APT 6203 CHICAGO IL 60611
RICHARD L & SANDRA W MOWERY              46 FAIRWAY CT DUNN NC 28334
ROBERT BARTELL                           1717 CABIN PL PALM CITY FL 34990
ROBERT ELSON POA FOR THE                 MARGARET ELSON TRUST 516-67 190 N CONTINENTAL RD STE 216 GREEN VALLEY AZ
                                         85622-3589
ROBERT H FIER                            2670 NW COLLINS COVE RD STUART FL 34994
ROBERT J. WOHLWEND LVG. TRUST            C/O JOSEPH E SARACHEK 101 PARK AVE FL 27 NEW YORK NY 10017
ROBERT J. WOHLWEND LVG. TRUST            4461 STACK BLVD APT D343 MELBOURNE FL 32901-8572
ROBERT L SCHATTNER TRUST                 C/O JOSEPH E SARACHEK 101 PARK AVE FL 27 NEW YORK NY 10017
ROBERT L SCHATTNER TRUST                 11110 BOCA WOODS LN BOCA RATON FL 33428
ROGER A NUNEZ AND STEPHANIE A NUNEZ      1540 NORTHPARK DR ROSEVILLE CA 95747
ROLAND J & RITA M KYOVSKY                C/O COSTA FINANCIAL ATTN ANDREW COSTA 1604 SE 4TH ST FT LAUDERDALE FL 33301
ROLAND J & RITA M KYOVSKY                3125 OAKLAND SHORES DR #201 FT LAUDERDALE FL 33309
RON MANZO                                MARRIOTT RESIDENCES 3800 N OCEAN DR APT 1500 RIVIERA BEACH FL 33404-2790
RONALD E TAYLOR                          3067 HIGH MEADOW LN SAN JOSE CA 95135
RONALD J WOHLWEND LVG TRUST              4461 STACK BLVD APT D343 MELBOURNE FL 32901-8572
RONALD JOSEPH DECAMP                     79 TIMBER COVE DR CAMPBELL CA 95008
RONALD K ROSENBLATT                      1 MAYFLOWER LANE SALEM MA 01970
ROSE MARTIN                              C/O JOSEPH E SARACHEK 101 PARK AVE FL 27 NEW YORK NY 10017
ROSE MARTIN                              4361 LIGHTHOUSE LN WEST CHESTER OH 45069
ROY W ZAHM & MURIEL G ZAHM               1525 E MARYLAND LN LAUREL MT 59044
RUSSELL A SMITH                          PO BOX 7181 KNOXVILLE TN 37921
RUSSELL COYNE                            C/O JOSEPH E SARACHEK 101 PARK AVE FL 27 NEW YORK NY 10017
RUSSELL COYNE                            11893 OSPREY POINTE CIRCLE WELLINGTON FL 33449
RUSSELL J COYNE                          11893 OSPREY POINTE CIR WELLINGTON FL 33449
SALVATORE POLLICITO                      1432 HOLTZMAN ST SURFSIDE BEACH SC 29575


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Claim Name                               Address Information
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SANDRA M ARANDA                          947 GREENWAY AVE DUNEDIN FL 34698
SCHWABISH LIVING TRUST DTD 01-14-2010    C/O MRS JUNE SCHWABISH TRUSTEE 51 WESLEYAN RD COMMACK NY 11725
SHERRY L HAMILTON                        3670 HEMLOCK ST SANTA ROSA CA 95403-1555
SHIRLEY R SMEDLEY                        30 LOST TREE RD PINEHURST NC 28374-8318
SILVIA REITTER                           9782 AMETRINE CT ELK GROVE CA 95624
SLIDE PLUS INC                           C/O CONNOLLY GALLAGHER LLP ATTN KAREN C BIFFERATO 1000 N WEST ST STE 1400
                                         WILMINGTON DE 19801
SLIDE PLUS INC                           ATTN GLORIA K YABE 13536 LAKEWOOD BLVD #335 BELLFLOWER CA 90706
STAN J AND SHIRLEY A HACHMANN            15955 W TEE RD BUENA VISTA CO 81211
STEPHAN D HARLAN                         6150 SE WINGED FOOT DR STUART FL 34997
STEPHEN CATO                             C/O STEPHEN AND JACKLYN CATO 137 CYPRESS AVE PO BOX 97 DILLON BEACH CA 94929
STEVE WALTON                             1154 LEA DR NOVATO CA 94945
SUNWEST TRUST AS CUSTODIAN               FOR RUTH T VAUGHT IRA C/O COOPER LEVENSON P.A. 1125 ATLANTIC AVE 3RD FL
                                         ATLANTIC CITY NJ 08401
SUNWEST TRUST AS CUSTODIAN               FOR RUTH T VAUGHT IRA 202 OLD FARM RD LENOIR CITY TN 37771
SUNWEST TRUST AS CUSTODIAN FOR           BRIAN A FREDERICK IRA C/O COOPER LEVENSON P.A. 1125 ATLANTIC AVE 3RD FL
                                         ATLANTIC CITY NJ 08401
SUNWEST TRUST AS CUSTODIAN FOR           DORIS B MATTHEWS IRA C/O COOPER LEVENSON P.A.; ATTN: ERIC A BROWNDORF; 1125
                                         ATLANTIC AVE 3RD FL ATLANTIC CITY NJ 08401
SUNWEST TRUST AS CUSTODIAN FOR           BILLIE S CANTER IRA C/O COOPER LEVENSON P.A.; ATTN: ERIC A BROWNDORF; 1125
                                         ATLANTIC AVE ATLANTIC CITY NJ 08401
SUNWEST TRUST AS CUSTODIAN FOR           C/O COOPER LEVEINSON PA ATTN ERIC A BROWNDORF 1125 ATLANTIC AVE THIRD FL
                                         ATLANTIC CITY NJ 08401
SUNWEST TRUST AS CUSTODIAN FOR           243 FAIRWAY DR ASHEVILLE NC 28805
SUNWEST TRUST AS CUSTODIAN FOR           BRIAN A FREDERICK IRA 825 GALLAGHER VIEW RD KNOXVILLE TN 37919
SUNWEST TRUST AS CUSTODIAN FOR           BILLIE S CANTER IRA 11133 CROWN POINT DR KNOXVILLE TN 37934
SUNWEST TRUST AS CUSTODIAN FOR           MILLENNIUM TRUST CO LLC CUSTODIAN FBO DORIS B MATTHEWS TRAD IRA 2001 SPRING RD
                                         STE 700 OAK BROOK IL 60523-1890
SUNWEST TRUST AS CUSTODIAN FOR           JAMES A MCDONALD ROTH IRA C/O MILLENNIUM TRUST CO LLC CUSTODIAN 2001 SPRING RD
                                         STE 700 OAK BROOK IL 60523-1890
SUNWEST TRUST CFBO WANDA D JOHNSON       INHERITED IRA C/O COOPER LEVENSON P A; ATTN: ERIC A BROWNDORF; 1125 ATLANTIC
                                         AVE 3RD FLR ATLANTIC CITY NJ 08401
SUNWEST TRUST CFBO WANDA D JOHNSON       INHERITED IRA ATTN RICHARD FRITTS 12 GLENLEIGH COURT SUITE 4 KNOXVILLE TN
                                         37934
SUSAN HUFF                               367 MOUNTAINSIDE TRAIL COPPER HILL VA 24079
SUSAN HUFF                               3872 OAK GROVE DRIVE SARASOTA FL 34243
SUSAN JOLLEY                             6198 E VALLEY VIEW DR FLORENCE AZ 85132-7999
SUSAN JOLLEY                             C/O LOVELAND FINANCIAL ATTN CHAD LOVELAND 1428 S 2580 E ST GEORGE UT 84790
SUSAN K BRENSDAL                         675 LAKE HILLS PL BILLINGS MT 59105
SUSAN R KAPLAN                           22624 ESPLANADA CIR BOCA RATON FL 33433
SUZANNE HUFF                             3872 OAK GROVE DR SARASOTA FL 34243
SYDNEY AND LORETTA KESSLER               9025 PADOVA DR BOYNTON BEACH FL 33472
TERESA C HORNFECK                        2056 SILVER SPRING LN MYRTLE BEACH SC 29577
TERRY AND JO ANN NEWELL                  2110 NORTH BRYAN AVE SHAWNEE OK 74804
THE BRANTNER FAMILY TRUST 2-7-2001       C/O SHIRLEY A SMITH N577 COUNTY RD D EAU GALLE WI 54737
THE HELGESON FAMILY TRUST DTD            C/O JAMES D HELGESON TRUSTEE 710 GRAND AVE STE 1 BILLINGS MT 59101
12/20/1991
THE MICHAEL NUYTS REVOCABLE TRUST        7017 1/2 SANTA JUANITA AVE ORANGEVALE CA 95662
THE THOMAS FAMILY LIVING TRUST           PO BOX 133 FARNHAMVILLE IA 50538


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Claim Name                             Address Information
THE TRITTELWITZ FAMILY TRUST           DD MAY 12, 1999 C/O ROGER S TRITTELWITZ TRUSTEE 5400 157TH ST WEST; APT 331
                                       APPLE VALLEY MN 55124
THEODORE REKART                        3610 N MICHIGAN AVE FLORENCE AZ 85132
THOMAS L THURSBY                       3015 CHICAGO ST SAN DIEGO CA 92117
THOMAS MASON                           6321 PATTERSON WAY SACRAMENTO CA 95828
THOMAS YASENSKY                        8805 UNIVERSITY PL LA MESA CA 91942-5524
TONY CHIRIKOS                          818 COLUMBIA PL BOULDER CO 80303
VERLE F & NORMA S PYLE TRUST           7379 BLUE SKIES DR SPRING HILL FL 34606
VERNE AND AMANDA CARLSON               418 SUNSHINE PKWY GOLDEN CO 80403
VERNON R HESS                          C/O DEBBI RAPPA 5314 SANDERLING RIDGE DR LITHIA FL 33547
VIDAL MARTINEZ                         5616 CAMBRIDGE DRIVE FREDERICKSBURG VA 22407
VIOLA MITCHELL TRUST                   PO BOX 388 GLENDIVE MT 59330
VITORIA PILUT TRUST AGREEMENT          1528 SHIRE CIRCLE UNIT 1C INVERNESS IL 60664
WANDA & ARTHUR WILLIS                  3917 CENTER HILL COVE OLIVE BRANCH MS 38654
WILLIAM D HENRY                        25000 BEN KELLY RD ELBERT CO 80106
WILLIAM E. WINFIELD                    300 EAST ESPLANADE DRIVE STE 1170 OXNARD CA 93036
WILLIAM ELIA                           2928 BAYHEAD RUN OVIEDO FL 32765
WILLIAM ELIA                           8863 ATWATER LOOP OVIEDO NY 32765
WILLIAM ELIA                           8863 ATWATER LOOP OVIEDO FL 32765
WILLIAM F WHITEHEAD SR AND CAROL L     WHITEHEAD 14119 CHESTERFIELD TRAIL HUDSON FL 34669
WILLIAM MOE PROVIDENT TRUST GROUP      FBO WILLIAM MOE IRA 119 5TH AVE MILFORD CT 06460
WILLIAM SPIRKA                         C/O MRS ANGELA M TRUDELL PO BOX 190 HARVEST AL 35749
WILLIAM SPIRKA                         5922 NW BATCHELOR TER PORT SAINT LUCIE FL 34986
WILLIE A JONES                         C/O GUARDIAN INS & FINANCIAL SERVICES 930 W 175TH ST STE 2NW HOMEWOOD IL 60430
WILLIE WATSON                          8975 BECKINGTON DR ELK GROVE CA 95624
ZHANA JANE MAKSIMOV                    5958 W ARBOL DR DELRAY BCH FL 33484




                                Total Creditor count 208




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                                Case No. 17-12560 (JKS)
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ATTN ROBERT A WEBER, MARK L DESGROSSEILLIERS                    desgross@chipmanbrown.com
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